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                        UNITED STATES DISTRICT COURT

                     SOUTHERN DISTRICT OF CALIFORNIA


                                                        CASE NO. lSCR0474-BAS
UNITED STATES OF AMERICA,
                Plaintiff                               JUDGMENT AND ORDER OF DISMISSAL OF
          vs.                                           INFORMATION, EXONERATE BOND AND
                                                        RELEASE OF PASSPORT
RICARDO ARAUJO-QUINTANA (1)
               Defendant


       Upon motion of the UNITED STATES OF AMERICA and good cause appearing,


       IT IS SO ORDERED that the information in the above-entitled case be dismissed with

prejudice, the bond be exonerated, and passport released by Pretrial if held.


       IT IS SO ORDERED.


       DATED: FEBRUARY 24, 2016




                                              HONO~~
                                              United States Magistrate Judge
